Case 4:17-cv-00454-GKF-JFJ   Document 209 Filed in USDC ND/OK on 11/16/18        Page 1 of
                                        31



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA



 1) VIDEO GAMING TECHNOLOGIES, INC.,        )
                                            )
                                            )
             Plaintiff,                     )
                                            )
 v.                                         )   Case No. 4:17-cv-00454-GKF-jfj
                                            )
 1) CASTLE HILL STUDIOS LLC                 )   REDACTED
    (d/b/a CASTLE HILL GAMING);             )
 2) CASTLE HILL HOLDING LLC                 )
    (d/b/a CASTLE HILL GAMING); and         )
 3) IRONWORKS DEVELOPMENT, LLC              )
    (d/b/a CASTLE HILL GAMING)              )
                                            )
             Defendants.                    )


                 PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION
                  TO EXCLUDE PLAINTIFF’S EXPERT YORAM WIND
Case 4:17-cv-00454-GKF-JFJ                   Document 209 Filed in USDC ND/OK on 11/16/18                                         Page 2 of
                                                        31



                                                 TABLE OF CONTENTS

   I.     INTRODUCTION............................................................................................................. 1

   II.    THE WIND SURVEY ...................................................................................................... 3

   III.   LEGAL STANDARD ....................................................................................................... 5

   IV.    ARGUMENT ..................................................................................................................... 6

          A.        Dr. Wind Used an Appropriate Survey Format. ............................................... 6

          B.        The Wind Survey Used Standard, Non-Leading Questions.............................. 9

          C.        The Wind Survey Accurately Portrayed Survey Stimuli. ............................... 10

          D.        The Wind Survey Used a Standard Ordering Method That Produced
                    No Ordering Bias. ............................................................................................... 12

          E.        The Wind Survey Used a Representative Example of CHG’s
                    Infringement. ....................................................................................................... 14

          F.        The Wind Survey Used Reasonable Controls. ................................................. 15

          G.        The “Technical Errors” in Dr. Wind’s Survey Are Not “Fatal.” ................... 18

                    1.         Not One Respondent in Dr. Wind’s Corrected Report Was
                               Exposed to an Erroneous Image. ........................................................... 18

                    2.         Dr. Wind’s Survey Allowed Respondents to Enlarge All
                               Features of Depicted EGMs. .................................................................. 20

                    3.         Dr. Wind’s Survey Used Images of Comparable Quality. .................. 21

          H.        Dr. Wind’s Convergent Validity Analysis is Proper and Helpful. ................. 22

   V.     CONCLUSION ............................................................................................................... 25




                                                                    i
Case 4:17-cv-00454-GKF-JFJ                          Document 209 Filed in USDC ND/OK on 11/16/18                                             Page 3 of
                                                               31



                                                     TABLE OF AUTHORITIES

                                                                                                                                           Page(s)

   Cases

   Active Sports Lifestyle USA LLC v. Old Navy, LLC,
       No. SACV 12-00572 JVS (Ex), 2013 WL 11239385 (C.D. Cal. Nov. 21,
       2013) ........................................................................................................................................21

   Am. Thermos Prods. Co. v. Aladdin Indus., Inc.,
      207 F. Supp. 9 (D. Conn. 1962) (2d Cir. 1963) .......................................................................12

   Bales v. Green,
      No. 16-CV-106-GKF-JFJ, 2018 WL 1633321 (N.D. Okla. Mar. 27, 2018) ...........................22

   Beer Nuts, Inc. v. Clover Club Foods Co.,
      805 F.2d 920 (10th Cir. 1986) ...................................................................................................7

   Brunswick Corp. v. Spinit Reel Co.,
      832 F.2d 513 (10th Cir. 1987) .............................................................................................5, 15

   Children’s Med. Ctr. of Dall. v. Columbia Hosp. at Med. City Dall. Subsidiary,
      L.P.,
      No. 3-04-CV-2436-BD, 2006 WL 616000 (N.D. Tex. Mar. 10, 2006) ...................................23

   Cohen v. Trump,
      No. 3:13-CV-2519-GPC-WVG, 2016 WL 4543481 (S.D. Cal. Aug. 29, 2016) .....................23

   Copy Cop, Inc. v. Task Printing, Inc.,
      908 F. Supp. 37 (D. Mass. 1995) ...............................................................................................5

   Oklahoma ex rel. Edmondson v. Tyson Foods, Inc.,
      No. 05-CV-329-GKF-SAJ, 2008 WL 1994910 (N.D. Okla. May 5, 2008) ..............................1

   H.S. Field Servs., Inc. v. CEP Mid-Continent, LLC,
      No. 12-CV-531-GKF-PJC, 2015 WL 11156965 (N.D. Okla. Aug. 24, 2015) ....................1, 22

   Harolds Stores, Inc. v. Dillard Dep’t Stores, Inc.,
      82 F.3d 1533 (10th Cir. 1996) .................................................................................6, 10, 12, 18

   James Burrough Ltd. v. Sign of Beefeater, Inc.,
      540 F.2d 266 (7th Cir. 1976) .....................................................................................................5

   King of the Mountain Sports, Inc. v. Chrysler Corp., 185 F.3d 1084 (10th Cir.
      1999) ......................................................................................................................................6, 7

   Kumho Tire Co. v. Carmichael,
     526 U.S. 137 (1999) ...................................................................................................................1
                                                                           ii
Case 4:17-cv-00454-GKF-JFJ                         Document 209 Filed in USDC ND/OK on 11/16/18                                            Page 4 of
                                                              31



   Malinski v. BNSF Ry. Co.,
      No. 15-CV-502-JED-FHM, 2017 WL 1199750 (N.D. Okla. Mar. 31, 2017) .........................22

   Nat’l Football League v. Governor of Del.,
      435 F. Supp. 1372 (D. Del. 1977) ..............................................................................................5

   Skycam, Inc. v. Bennett,
      No. 09-CV-294-GKF-FHM, 2011 WL 2551188 (N.D. Okla. June 27, 2011) ..........................1

   SquirtCo v. Seven-Up Co.,
      628 F.2d 1086 (8th Cir. 1980) ...................................................................................................3

   Union Carbide Corp. v. Ever-Ready, Inc.,
      531 F.2d 366 (7th Cir. 1976) .................................................................................................6, 8

   Water Pik, Inc. v. Med-Sys., Inc.,
      726 F.3d 1136 (10th Cir. 2013) .......................................................................................7, 9, 10

   Whirlpool Props., Inc. v. LG Elecs. U.S.A., Inc.,
      No. 1:03 CV 414, 2006 WL 62846 (W.D. Mich. Jan. 10, 2006).............................................22

   Other Authorities

   Fed. R. Evid. 703 ...........................................................................................................................22

   Himanshu Mishra & Ruth M. Corbin, Internet Surveys in Intellectual Property
      Litigation: “Doveryai, No Proveryai,” 107 Trademark Rep. 1097 (2017) .............................24

   Jerre B. Swann, Eveready and Squirt—Cognitively Updated, 106 Trademark Rep.
       727 (2016) ..................................................................................................................................8

   Ted Robert Hunt, Scientific Validity and Error Rates: A Short Response to the
      PCAST Report, 25 Fordham L. Rev. 24 (2017) .......................................................................24




                                                                          iii
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                  Page 5 of
                                               31



   I.     INTRODUCTION

          A trial court’s gatekeeper 1 function involves two separate inquires: first, to determine

   whether the expert is qualified to offer the proposed opinions; second, to assess whether the

   expert’s opinions are reliable. See, e.g., H.S. Field Servs., Inc. v. CEP Mid-Continent, LLC, No.

   12-CV-531-GKF-PJC, 2015 WL 11156965, at*1 (N.D. Okla. Aug. 24, 2015); Skycam, Inc. v.

   Bennett, No. 09-CV-294-GKF-FHM, 2011 WL 2551188, at *2 (N.D. Okla. June 27, 2011)

   (citing Kumho Tire Co. v. Carmichael, 526 U.S. 137, 149 (1999)).

          There is no dispute as to the first inquiry: CHG has not challenged—and cannot credibly

   challenge—the qualifications of VGT’s survey expert Yoram (Jerry) Wind, arguably the dean of

   survey experts. Dr. Wind is the Lauder Professor Emeritus and Professor of Marketing at the

   Wharton School of the University of Pennsylvania. Ex. A, 2 Wind Rep. at 4. He joined the

   Wharton faculty more than half a century ago in 1967 after receiving his Ph.D. in marketing

   from Stanford University. Id. (full resume available at https://faculty.wharton.upenn.edu/wp-

   content/uploads/2016/11/Jerry.Wind_.CV_.4.16.18nomarkup.pdf). Dr. Wind has published 25

   books and authored more than 300 papers, articles, and monographs on consumer research and

   other marketing issues. Id. He has won all four major marketing awards and been inducted into

   the marketing hall of fame. Id. Even CHG’s survey expert, Mr. Berger, concedes Dr. Wind’s

                                 Ex. D, Berger Dep. Tr. 15:8-15.




   1
     Notably, this “gatekeeper” function “is not a prevailing concern in a bench trial or hearing to
   the court, because the court functions as the trier of fact.” Oklahoma ex rel. Edmondson v. Tyson
   Foods, Inc., No. 05-CV-329-GKF-SAJ, 2008 WL 1994910, at *1 (N.D. Okla. May 5, 2008).
   VGT does not oppose CHG’s motion to strike VGT’s jury demand. See Dkt. 201.
   2
    All references to exhibits herein refer to the exhibits attached to the Declaration of Gary
   Rubman, filed herewith.

                                                    1
Case 4:17-cv-00454-GKF-JFJ            Document 209 Filed in USDC ND/OK on 11/16/18                Page 6 of
                                                 31



              Most important for present purposes, Dr. Wind has testified at deposition and trial more

   than 50 times, and no court or agency has ever excluded his surveys or testimony. Ex. C, Wind

   Dep. Tr. 14:5-20. As a teacher, researcher, consultant, expert witness, and editor, Dr. Wind has

   conducted and evaluated thousands of marketing and consumer research studies. Ex. A, Wind

   Rep. at 5.

              Despite Dr. Wind’s credentials and flawless record, CHG challenges the reliability of his

   report here. Ironically, CHG does so on the basis of a report by its own expert, James Berger,

   that it cites, see Mot. at Exhibit D, but understandably does not highlight that by his own

   admission,




                                                                                                  . Ex.

   D, Berger Dep. Tr. 84:19-23.

              Unsurprisingly, therefore, none of the supposed “fatal flaws” identified by CHG has a

   meaningful effect on the validity or reliability of Dr. Wind’s survey. Indeed, Mr. Berger

   acknowledges as much, conceding that                                                   id. at 121:8-

   10, that                                                                      id. at 129:13-22, that



                                                 id. at 115:8-18, and that

                                               (which is unsurprising given that he did not even try to

   design an alternative survey), id. at 104:13-16.

              Although CHG is free to poke and prod into tweaks that could have been made—

   including by Mr. Berger, had he even attempted to conduct his own survey—to Dr. Wind’s



                                                      2
Case 4:17-cv-00454-GKF-JFJ           Document 209 Filed in USDC ND/OK on 11/16/18               Page 7 of
                                                31



   survey on cross-examination, there is no basis to exclude Dr. Wind’s relevant and reliable

   testimony concerning that survey and related topics.

   II.      THE WIND SURVEY

            Dr. Wind conducted a double-blind experiment to test whether consumers are likely to be

   confused as to the source of electronic gaming machines (“EGMs”) produced by VGT and CHG

   in the context of an array of EGMs that might appear in the real-world marketplace of a casino

   floor. Ex. A, Wind Rep. at 6.

            Dr. Wind designed his survey by building on a standard variation of a Squirt 3 survey, in

   which the stimuli are viewed side-by-side. He constructed his array of stimuli by selecting as an

   anchor one of VGT’s EGMs most relevant to this case (i.e., VGT’s best-selling EGM, Mr.

   Money Bags), selecting the EGM CHG designed to look like Mr. Money Bags as the CHG test

   EGM (i.e., CHG’s New Money EGM), and then selecting three representative third-party EGMs

   as controls. Id. at 6-7; Ex. B, Wind Reply Rep. at 4-7; Ex. C, Wind Dep. Tr. 49:6-18, 51:22-

   52:10.

            Dr. Wind chose the control EGMs so as to avoid potential bias. Specifically, he required

   that the controls share a common theme with the test EGMs, which in this case is the common

   industry theme of wealth or money, and that they be offered within the same casinos as the VGT

   and CHG EGMs to establish a realistic representation of the EGMs in the marketplace of a

   casino floor. Ex. A, Wind Rep. at 6-7; Ex. B, Wind Reply Rep. at 7.

            Dr. Wind then randomly assigned the three control EGMs and the two test EGMs into

   lettered positions in an array. Ex. A, Wind Rep. at 7. To avoid potential bias resulting from

   disproportionate assignment to a far-left position or far-right position, Dr. Wind ordered that the


   3
       See SquirtCo v. Seven-Up Co., 628 F.2d 1086, 1089 n.4 (8th Cir. 1980).

                                                     3
Case 4:17-cv-00454-GKF-JFJ           Document 209 Filed in USDC ND/OK on 11/16/18                  Page 8 of
                                                31



   array be rotated, resulting in five different arrays where each stimulus was displayed once in

   each position (i.e., the first, second, third, fourth, and fifth positions). Id.; Ex. C, Wind Dep. Tr.

   165:17-167:2.

          The survey administrator, Research Now, showed qualified survey respondents 4 one of

   the arrays 5 and asked them to answer standard baseline questions about whether any depicted

   EGMs were made by the same company, made by affiliated companies, or required permission

   from the maker of any of the other EGMs. Ex. A, Wind Rep. at 2, 6, 8-11.

          To gain insight into the reasons behind respondents’ answers, as well as into the

   applicability of the results more broadly, the survey then asked respondents open-ended

   questions aimed at ferreting out (i) any statistically significant differences between the confusion

   rate among the two test EGMS, i.e., the VGT and CHG EGMs, and the confusion rates between

   the test EGMs and any of the three controls and, if so, (ii) whether those differences are

   attributable to trade dress or trademark elements at issue. Id.

          As noted by CHG, Dr. Wind learned during discovery that a technical glitch in Research

   Now’s program led to presentation of an erroneous image of a VGT EGM instead of a CHG

   EGM to a subset of respondents shown one of the five arrays. Ex. E, Wind Mem. to Corrected

   Rep. at 1 (Sept. 24, 2018) (“Wind Memo”). This glitch occurred only when two conditions were

   met: First, the respondent had to be randomly shown one particular rotation of the five possible

   rotations of stimuli; and, second, the respondent had to elect to view an enlarged image of the

   CHG stimulus. Id. Although most respondents were not shown this particular rotation and


   4
    The survey universe was comprised of those respondents who indicated that they had visited, or
   planned to visit, a casino in Oklahoma and had played, or planned to play, slot machines or
   bingo-based games. See Ex. A, Wind Rep. at 8, App. C-1.
   5
     As discussed below, although there were initially five arrays, Dr. Wind later discarded the
   results of one array because of a technical glitch—with no material effect on the results.

                                                      4
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                   Page 9 of
                                               31



   although there is no reason to believe that many of those respondents who were shown this

   rotation elected to enlarge the image of the CHG EGM, Dr. Wind, out of an abundance of

   caution, issued a corrected version of his report, in which he removed the responses of all 93

   shown the problematic rotation—and thus all 93 respondents who could have been exposed to

   the erroneous image. Id. Even after removing these respondents, Dr. Wind’s survey generated

   353 valid responses—nearly double the industry standard. Id.; Ex. A, Wind Rep. at 2; see Ex. D,

   Berger Dep. Tr. 144:24-145:13, 236:7-11 (

                      ). Thus, as conceded by CHG’s own survey expert,

                                                                                            . Ex. D,

   Berger Dep. Tr. 235:16-236:25.

          Dr. Wind’s analysis of the clean data in his corrected report found the overall net

   confusion rate between VGT’s and CHG’s EGMs to be 45.9%. Ex. E, Wind Memo at 1 (as

   opposed to the pre-glitch confusion rate of 47.5%). Such confusion is more than double the

   amount typically required of courts to be considered evidence of likelihood of confusion. See,

   e.g., James Burrough Ltd. v. Sign of Beefeater, Inc., 540 F.2d 266, 278 (7th Cir. 1976) (15%);

   Copy Cop, Inc. v. Task Printing, Inc., 908 F. Supp. 37, 42, 48 (D. Mass. 1995) (16.5%); Nat’l

   Football League v. Governor of Del., 435 F. Supp. 1372, 1380-81 (D. Del. 1977) (19-21%);

   accord Ex. D, Berger Dep. Tr. 146:20-23 (       ).

   III.   LEGAL STANDARD

          “In a case such as this in which confusion as to product source is a material issue, a

   survey may be the only available method of showing the public state of mind.” Brunswick Corp.

   v. Spinit Reel Co., 832 F.2d 513, 522 (10th Cir. 1987). A trademark survey “is trustworthy if it is

   shown to have been conducted according to generally accepted survey principles.” Id.

   “Technical and methodological deficiencies in the survey, including the sufficiency of the
                                                    5
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                 Page 10
                                              of 31



  universe sampled, bear on the weight of the evidence, not the survey’s admissibility.” Harolds

  Stores, Inc. v. Dillard Dep’t Stores, Inc., 82 F.3d 1533, 1544-46, 1546 n.9 (10th Cir. 1996)

  (rejecting technical and methodological challenges regarding, inter alia, improper survey

  universe, leading questions, improper market conditions, and improper stimuli).

           Although CHG raises eight arguments in its challenge to Dr. Wind’s survey and proposed

  testimony, none has merit; at most, they are matters for cross-examination. We address them in

  the order presented in CHG’s motion.

  IV.      ARGUMENT

           A.      Dr. Wind Used an Appropriate Survey Format.

           Although CHG insists that Dr. Wind was all but required to employ an Ever-Ready 6

  survey format (in which respondents are shown only the allegedly infringing product and asked

  questions as to its source), instead of the Squirt format he instead used (where the CHG EGM

  was included in a lineup with a VGT EGM and three control EGMs), an Ever-Ready format is

  neither required nor desirable where, as here, the products at issue appear proximately in the

  marketplace. It also bears emphasis that



                                                 . Ex. D, Berger Dep. Tr. 109:10-110:14.

           Case law supports the propriety of Dr. Wind’s choice. “‘The closer the survey methods

  mirror the situation in which the ordinary person would encounter the trademark, the greater the

  evidentiary weight of the survey results.’” King of the Mountain Sports, Inc. v. Chrysler Corp.,

  185 F.3d 1084, 1090 (10th Cir. 1999) (quoting 6 J. Thomas McCarthy, McCarthy on Trademarks

  and Unfair Competition § 32:163) (internal punctuation omitted). Although consumers



  6
      See Union Carbide Corp. v. Ever-Ready, Inc., 531 F.2d 366, 385-88 (7th Cir. 1976).

                                                   6
Case 4:17-cv-00454-GKF-JFJ         Document 209 Filed in USDC ND/OK on 11/16/18                  Page 11
                                             of 31



  “typically do not engage in side by side comparison of the products,” Beer Nuts, Inc. v. Clover

  Club Foods Co., 805 F.2d 920, 926 (10th Cir. 1986) (emphasis added), side-by-side comparisons

  are appropriate where “products are simultaneously or sequentially accessible in the

  marketplace.” Water Pik, Inc. v. Med-Sys., Inc., 726 F.3d 1136, 1147 (10th Cir. 2013) (citing 6

  McCarthy § 32:163).

         Here, Dr. Wind designed a Squirt-style survey to reflect the situation that consumers

  would encounter in the marketplace, namely, a casino floor filled with

                     of competing EGMs arranged side-by-side. See Ex. F, Friedman Rep. at ¶ 23;

  Ex. A, Wind Rep. at 6; Ex. C, Wind Dep. Tr. 117:25-118:9. Dr. Wind also was careful to adopt

  stimuli offered in the same marketplace; in other words, the array included five different games

  that all appear within the same real-world casinos. Ex. A, Wind Rep. at 7 n.4, 9, 41; Ex. B,

  Wind Reply Rep. at 7, 9, 9 n.20; Ex. C, Wind Dep. Tr. 58:1-25. Dr. Wind further cued

  respondents to consider the stimuli in the context of the marketplace by instructing them to “look

  at the five machines the way you normally would before selecting a machine to play.” Ex. A,

  Wind Rep. at 9. By taking such factors into account, Dr. Wind did precisely what he should

  have, that is, “mirror the situation in which the ordinary person would encounter” VGT’s EGMs

  simultaneously with the EGMs of CHG and third parties as best he could. See Water Pik, 726

  F.3d at 1147.

         CHG’s position to the contrary is inconsistent both with its own (incorrect) litigation

  position that VGT’s marks are weak, see, e.g., Dkt. 30 at 12 (CHG Motion to Dismiss), and with

  the authority on which CHG relies. Specifically, despite placement of CHG games next to VGT

  games in casinos, CHG insists that because VGT’s marks are strong, Dr. Wind should have used

  an Ever-Ready-style survey, in which respondents are not able to see VGT’s EGMs alongside



                                                  7
Case 4:17-cv-00454-GKF-JFJ           Document 209 Filed in USDC ND/OK on 11/16/18                  Page 12
                                               of 31



  those of competitors. This claim is inconsistent with generally accepted survey principles,

  including those championed by the author on which CHG and its survey expert rely, Professor

  Swann: “[W]hen marks exist proximately in the market, Eveready may not, by itself, be

  appropriate to test for likelihood of confusion as to strong marks that are generally recognized,

  but not readily recalled.” Jerre B. Swann, Eveready and Squirt—Cognitively Updated, 106

  Trademark Rep. 727, 734 (2016) (emphases removed). Indeed, use of “an Eveready alone to

  test . . . the likelihood of confusion as to two proximate marks under circumstances where an

  aided Squirt would assess viable (real world) comparison opportunities is a fatal flaw.” Id. at

  746; see id. at 732-33 (“In prior writings, I overemphasized the commercial strength component

  of a mark as a qualification for Eveready survey treatment . . . . Cognitively, however,

  commercial strength, as typically understood, is not sufficient in and of itself; it is the ‘top-of-

  mind’ characteristic that truly gives a mark reach. ‘Top-of-mind’ refers to marks that are readily

  accessible in memory.”).

           Here, in accordance with Professor Swann’s explanation, Dr. Wind concluded that his

  Squirt format “was kind of the natural selection for design.” Ex. C, Wind Dep. Tr. 117:25-

  118:15. He based that opinion on his understanding that although VGT’s marks are strong in

  that they are generally recognized, they may not be readily recalled by name, as necessary to

  conduct an effective Ever-Ready survey. See id. at 123:1-9 (“Yes, even though I’m not sure the -

  - top of my mind in term of mention the name, but definitely, they’ll recognize it when they see

  it.”). Moreover, VGT’s marks and CHG’s marks exist proximately in the casino marketplace,

  allowing for comparison opportunities. Ex. A, Wind Rep. at 6; Ex. C, Wind Dep. Tr. 117:25-

  118:9.




                                                     8
Case 4:17-cv-00454-GKF-JFJ           Document 209 Filed in USDC ND/OK on 11/16/18                  Page 13
                                               of 31



         B.      The Wind Survey Used Standard, Non-Leading Questions.

         The Tenth Circuit, quoting Professor McCarthy, has described the balance that survey

  questions should strike in the following way:

         In the author’s view, it is not improperly leading to present the respondent with a
         fair and accurate representation of the contesting marks and ask in a neutral manner
         if the respondent thinks there is or is not some connection, affiliation or sponsorship
         relation between the owners of the marks—or that the respondent doesn’t know. . . .
         However, it will probably be improperly leading to suggest the desired response in
         the form of a yes or no question.

  Water Pik, Inc., 726 F.3d at 1147-48 (quoting 6 McCarthy §§ 32:172, 32:175).

         Dr. Wind’s adherence to these principles is demonstrated by the (standard) language used

  for his three primary questions:

      Now looking at these machines,
      a. Do you think that any of these machines are made by the same company? OR
      b. Do you think that each of the machines is made by a different company? OR
      c. Don’t you have an opinion? 7

      [Answer Options]
      1. Two (or more) of these machines are made by the same company
      2. Each of the machines is made by a different company
      3. No opinion

  Ex. A, Wind Rep. at 9-11.

         As reflected above, Dr. Wind did not use yes-or-no questions or suggest a desired

  response. In fact, Dr. Wind bolstered the neutrality of his questions by presenting the sub-parts

  in random order, ensuring that respondents were equally likely to read first the possibility that all

  the machines were made by different companies as they were to read first the possibility that



  7
    The phrase “Don’t you have an opinion” is not, as CHG suggests, improper and suggestive.
  There is no other way to phrase this question, other than perhaps changing it to a declarative
  statement such as “No opinion.” Furthermore, although CHG suggests that this option would
  lead an undecided respondent to select the answer option in support of a relationship, nothing in
  the neutral phrasing of the question would lead a respondent to select the relationship option over
  the no-relationship option.

                                                    9
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                Page 14
                                              of 31



  some machines might have been made by the same company. Id. at 9 n.8 (computer program

  used to implement survey rotated options and responses). He also made clear in both the

  question and the answer that respondents need not form an opinion if unsure.

         Dr. Wind’s questions stand in contrast to the questions criticized in Water Pik. There, the

  survey presented respondents with only three stimuli and asked uninformative questions that

  suggested one particular response, that is, “whether two or more of the [three total] products’

  makers had a business affiliation.” Water Pik, 726 F.3d at 1147-48. Further, the answer options

  available to the Water Pik respondents did not provide details, but were instead limited to the

  simple choice between “yes, no, or not sure.” Id. at 1147. Thus, unlike here, respondents in

  Water Pik were left only with an incomplete understanding of the options available to them,

  leading them to assume more readily a connection among the stimuli.

         C.      The Wind Survey Accurately Portrayed Survey Stimuli.

         Although CHG focuses on how it—or, more accurately, its survey expert Mr. Berger—

  would have presented the stimuli differently in an alternative survey, Mr. Berger made clear the

  shallowness of this critique when explaining why he did not perform his own survey:




                                 Ex. D, Berger Dep. Tr. 115:7-18.

         Each of CHG’s more specific criticisms as to presentation of the stimuli constitutes, at

  best, the kind of methodological issues that go to a survey’s weight, not its admissibility. See

  Harolds Stores, 82 F.3d at 1544-46, 1546 n.9.

         For example, although CHG argues that Dr. Wind’s survey should have used photographs

  or videos instead of artist depictions of the EGMs, CHG does not identify any inaccurately
                                                  10
Case 4:17-cv-00454-GKF-JFJ   Document 209 Filed in USDC ND/OK on 11/16/18   Page 15
                                       of 31
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                 Page 16
                                              of 31



  but the casinos were unwilling to grant permission. See Ex. C, Wind Dep. Tr. 64:6-66:16. Some

  casinos prohibit taking any images on casino floors to preserve the security of their games and

  operations, and others prohibit use of photography equipment for fear that it will make casino

  patrons uncomfortable. The casinos that VGT contacted were particularly reluctant to allow

  VGT to gather images for use in litigation with CHG, given that the casinos are customers of

  both VGT and CHG and that CHG is a business partner of some. As a result, VGT is using the

  best photographs, images and videos available to it.

         At the end of the day, to the extent that CHG and Mr. Berger believe that they could

                                                                                                 Ex.

  D, Berger Dep. Tr. 228:25-229:11, such differences in professional opinion “bear on the weight

  of the evidence, not the survey’s admissibility,” Harolds Stores, 82 F.3d at 1544-46, 1546 n.9.

  As expressed in a well-known trademark survey case, “any conclusion in this area cannot be

  reduced to a figure of unimpeachable accuracy but must, at best, be an approximation.” Am.

  Thermos Prods. Co. v. Aladdin Indus., Inc., 207 F. Supp. 9, 21 (D. Conn. 1962), aff’d, 321 F.2d

  577 (2d Cir. 1963). And, again, if he truly believed that these differences would have produced

  different results, Mr. Berger could have substituted different images and tested his theories; it is

  telling that he did not even attempt to do so. See Ex. I, Website of James T. Berger, available at

  https://www.jamesberger.net/litigation-support/products/ (advertising surveys that “[c]an be

  developed and implemented in 10 days to two weeks”); Ex. D, Berger Dep. Tr. 93:11-18.

         D.      The Wind Survey Used a Standard Ordering Method That Produced No
                 Ordering Bias.

         There are two commonly accepted methods for ordering survey arrays. Ex. C, Wind

  Dep. Tr. 166:23-167:2. The first method randomizes the order of stimuli for each array. Id. at




                                                   12
Case 4:17-cv-00454-GKF-JFJ         Document 209 Filed in USDC ND/OK on 11/16/18                Page 17
                                             of 31



  166:23-167:2. The primary downside 9 to this approach is that it may result in a stimulus

  drawing more attention if it appears disproportionately in more prominent positions, such as the

  leftward positions where it may be seen first as respondents view the array from left to right. See

  Ex. A, Wind Rep. at 2; Ex. C, Wind Dep. Tr. 166:6-14, 168:22-170:10. The second method—

  the one used by Dr. Wind—randomizes the first array, then sequentially rotates each subsequent

  array. Ex. C, Wind Dep. Tr. 166:23-167:2; Ex. A, Wind Rep. at 2, 7. The downside to this

  approach is that although it prevents stimuli from appearing more frequently in a more prominent

  position, it may result in them appearing next to one another more frequently. 10 Ex. C, Wind

  Dep. Tr. 166:23-167:2.

         In addition to avoiding positional bias, use of the sequential approach allowed Dr. Wind

  to confirm the absence of bias. Under CHG’s hypothesis that adjacency of two stimuli would

  have caused respondents to indicate confusion between them, the survey results should have

  reflected approximately equal confusion rates for each pair of adjacent stimuli. Id. at 169:24-

  170:6. Instead, whereas respondents indicated confusion between the VGT EGM and the CHG

  EGM 56.8% of the time, Ex. A, Wind Rep. at 20, they indicated confusion between other pairs

  of adjacent stimuli, on average, only seven percent of the time. 11 See Ex. A, Wind Rep. at 20;

  Ex. C, Wind Dep. Tr. 174:4-24. This difference reflects an approximately eight-fold increase in

  confusion when the adjacent stimuli were the VGT and CHG EGMs and demonstrates that


  9
    It may also be difficult to implement a survey that relies on randomization for each array. See
  Id. at 166:23-167:2.
  10
    Indeed, this circumstance is what happened here when the survey randomly assigned the VGT
  and CHG stimuli to adjacent positions in the initial array. See Ex. A, Wind Rep. at 7.
  11
     The results for the other pairs of stimuli that more frequently appeared next to one another
  were as follows: S&T (20.6%), P&S (4.5%), T&K (1.7%), and M&P (1.4%). Id. at 20; Ex. C,
  Wind Dep. Tr. 174:4-24 (“no [other pair] comes even close”). “K” and “M” refer to the VGT
  and CHG EGMs, respectively, and “P,” “S,” and “T” refer to control EGMs. Ex. A, Wind Rep.
  at 7.

                                                  13
Case 4:17-cv-00454-GKF-JFJ         Document 209 Filed in USDC ND/OK on 11/16/18                 Page 18
                                             of 31



  CHG’s purported bias simply did not manifest. See Ex. C, Wind Dep. Tr. 168:22-170:10, 174:4-

  24, 176:1-15.

         E.        The Wind Survey Used a Representative Example of CHG’s Infringement.

         Similarly, there is no basis for CHG’s criticism of Dr. Wind both for focusing on the

  pairing of VGT’s Mr. Money Bags and New Money CHG’s New Money or for his rationale as to

  how his survey projects to other instances of infringement.

         Contrary to CHG’s characterization of his testimony, and as explained in the background

  above, Dr. Wind has at all times provided a clear, consistent explanation of his reasons for using

  Mr. Money Bags and New Money for this survey. Most centrally, Dr. Wind, for practical

  reasons, was unable to implement multiple surveys to test the scores of permutations of CHG’s

  infringement, so he had to focus on a translatable example. See id. at 192:4-193:11. Dr. Wind

  therefore viewed his options as either selecting one of the most important EGMs in the case, Mr.

  Money Bags, or randomly assigning a VGT EGM. See id. at 191:13-24. Identifying a game at

  random could have resulted in a machine that CHG would challenge as atypical, see id. at

  191:13-24—so Dr. Wind instead chose VGT’s best-selling game as a starting point, using the

  version of this game that has the most placements and generates the most revenue, Ex. B, Wind

  Reply Rep. at 6, along with its CHG analog, New Money, see Ex. C, Wind Dep. Tr. 44:2-13,

  191:13-193:11.

         Also contrary to CHG’s characterization, Dr. Wind has provided a clear, consistent

  explanation of his rationale for how the results of his survey project to the full range of CHG’s

  infringements.

         As an initial matter, Dr. Wind’s survey itself provides helpful insight on this measure.

  Through open-ended, verbatim responses to questions asked after the standard three baseline

  questions concerning the relationship among the stimuli, Dr. Wind controlled for influence of
                                                  14
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                Page 19
                                              of 31



  similar game titles and artwork by separating out responses that indicate confusion stemming

  from such trademark elements as opposed to confusion stemming from trade dress elements such

  as the shape of the cabinet. Ex. A, Wind Rep. at 15-16, 22 Fig. 3a; Ex. B, Wind Reply Rep. at 6.

  This analysis allowed Dr. Wind to confirm that most respondents’ confusion stemmed from trade

  dress elements—elements, by definition, shared across VGT’s games. Ex. A, Wind Rep. at 22

  Fig. 3a; Ex. B, Wind Reply Rep. at 6.

           In addition, Dr. Wind’s report analyzes the convergent evidence explaining why the

  results project to other circumstances—such as CHG’s plan to emulate VGT games across the

  product line—that gave Dr. Wind further confidence that the results of his survey project beyond

  the test EGMs. 12 See Ex. A, Wind Rep. at 24-43; Ex. C, Wind Dep. Tr. 193:3-11, 111:8-115:23.

  In other words, because the study showed that CHG successfully created confusion regarding the

  test EGMs, and given the data demonstrating that CHG’s intent to copy extended beyond those

  EGMs, Dr. Wind was able to conclude with confidence that CHG’s efforts to create confusion

  beyond the test EGMs would also have been successful.

           In any event, whether the results of Dr. Wind’s survey project to other infringements is a

  matter of weight, not admissibility. See Brunswick, 832 F.2d at 523 n.6 (declining to evaluate

  whether survey results projectable because results are separately evidence of actual confusion).

           F.     The Wind Survey Used Reasonable Controls.

           None of CHG’s four arguments concerning Dr. Wind’s selection of control EGMs has

  merit.




  12
     It bears mention that whereas CHG criticizes Dr. Wind for supposedly failing to present a
  rationale for how his survey could extend to other games in CHG’s the product line, elsewhere in
  its motion CHG criticizes Dr. Wind for including such supporting evidence. Compare Motion at
  12-15 with Motion at 21-24.

                                                   15
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                 Page 20
                                              of 31



         First, use of both Class II and Class III games as controls was entirely appropriate

  because the evidence suggests that most casino patrons either do not recognize the distinction

  between Class II and Class III games or do not view the distinction as meaningful. Ex. B, Wind

  Reply Rep. at 3-4. According to a marketing research study conducted before this litigation,




                                         Ex. A, Wind Rep. at 3, Ex. J, Meczka Report,

  VGT0006968; most were instead

                                                            Ex. J, Meczka Report, VGT0006969. Such

  lack of consumer awareness is consistent with Dr. Wind’s own survey results. See Ex. B, Wind

  Reply Rep. at 3 (only nine of 366 respondents suggested familiarity with bingo-based stimuli).

  In fact, the survey found that the second most common rate of confusion after that between the

  VGT and CHG EGMs was that between a Class II control game and a Class III control game.

  See id. at 3-4. In this respect, it bears mention that CHG itself

                                                                           See Ex. K, Defs.’ Third

  Suppl. Objs. and Resps. to Pl.’s First Interrogs. to Defs., at 30-74 (

                                               ). 13

         Second, use of a control stimulus with a flat top, as opposed to a rounded top,

  appropriately represented the different cabinet designs that appear in casinos. Ex. B, Wind

  Reply Rep. at 9. Tellingly, CHG’s complaint seems to be that CHG EGMs look too much like




  13
     As expressed by a CHG artist responsible for designing the kinds of visual features displayed
  in Dr. Wind’s survey, “Well, I don’t see competition as Class II or Class III. I see competition as
  whatever is in the casinos, because I don’t know that -- I don’t know that the players understand
  the difference.” Ex. H, Sisson Dep Tr. 158:11-17.

                                                       16
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                 Page 21
                                              of 31



  VGT EGMs, which, of course, is why the survey shows confusion. Ex. D, Berger Dep. Tr.

  193:13-25 (                                                                 ).



                          Ex. G, CHG EGM Performance Rep., CHG0023342, CHG0023349. In

  any event, Dr. Wind controlled for any over-reliance on a shared feature by separating out

  responses that focus on a single feature and found that more respondents were confused by

  trademark elements or the combination of trade dress elements than they were by the types of

  elements that CHG now identifies. Ex. B, Wind Reply Rep. at 10.

         Third, use of control stimuli that share wealth and money themes—even if not the precise

  word “money”—appropriately replicates the marketplace as closely as possible. Ex. B, Wind

  Reply Rep. at 9. Although Mr. Berger points to alternative EGMs that Dr. Wind could have

  used, there was no evidence at the time that Dr. Wind began his survey that any of those

  alternatives was offered in the same casinos as the VGT and CHG EGMs (and at least some are

  not). Id. Thus, their inclusion would have undermined Dr. Wind’s efforts to recreate the

  marketplace of a casino where consumers might encounter the entire array of machines in the

  survey. Id. In any event, as noted, Dr. Wind controlled for any over-reliance on a single feature,

  such as the word “money,” by separating out respondents who identified any such feature as the

  sole reason why they believed the EGMs to be made by the same company. Id. at 9-10.

         Fourth, and finally, presentation of some control games at a slight angle instead of

  straight-on did not introduce bias into the survey. Id. at 7-8. As an initial matter, the angled

  images show the entire front face of the machines, so CHG does not—and cannot—argue that

  angling prevented respondents from observing the features of the games. Id. at 7. More

  centrally, the lack of bias is borne out by the survey results. If the positioning of the VGT and



                                                   17
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                 Page 22
                                              of 31



  CHG EGMs created a bias toward pairing those two EGMs, that same bias should have applied

  to the Scientific Games and Konami EGMs, which are similarly positioned to each other. Id. at

  8. Yet only 4.3% of respondents identifying a pair of EGMs as related identified the Scientific

  Games and Konami EGMs, compared to 56.6% identifying the VGT and CHG EGMs. Id.

         Additionally, it bears mention that CHG’s assertion that Dr. Wind’s statement that the

  straight-on image he used of Mr. Money Bags was all that was available to him was “objectively

  untrue” is itself misleading, if not flatly false. The alternative image CHG cites, see Am. Compl.

  Ex. 5 at 3, is of a different and less commonly available version of the game, not the best-selling

  game that Dr. Wind selected as the anchor for his survey.

         G.      The “Technical Errors” in Dr. Wind’s Survey Are Not “Fatal.”

         Although none of the so-called “technical errors” in Dr. Wind’s survey diminishes the

  validity of the results, it bears repeating that any such issues “bear on the weight of the evidence,

  not the survey’s admissibility.” Harolds Stores, 82 F.3d at 1544-46, 1546 n.9.

                 1.      Not One Respondent in Dr. Wind’s Corrected Report Was Exposed to
                         an Erroneous Image.

         Ignoring the testimony of its own survey expert that

                                                                             , see Ex. D, Berger Dep.

  Tr. 235:16-236:25, CHG still tries to use Research Now’s technical glitch as a basis for

  jettisoning Dr. Wind’s survey. As explained above, because of the glitch, some respondents

  shown one of the five arrays may have seen an image of a VGT game instead of a CHG game if

  they enlarged the image of the CHG stimulus. Ex. E, Wind Memo at 1. Dr. Wind remediated

  this error by removing the results from all respondents who could have possibly seen the

  erroneous image. Ex. E, Wind Memo at 1.

         Mr. Berger’s testimony as to effectiveness of the steps taken by Dr. Wind is unequivocal:


                                                   18
Case 4:17-cv-00454-GKF-JFJ   Document 209 Filed in USDC ND/OK on 11/16/18   Page 23
                                       of 31
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18               Page 24
                                              of 31



         Although CHG may wish to bury the opinions of its own expert, because Dr. Wind

  designed a survey using more than twice the number of required respondents, the results remain

  valid even after removing approximately one-fifth of those respondents.

                 2.      Dr. Wind’s Survey Allowed Respondents to Enlarge All Features of
                         Depicted EGMs.

         CHG strains semantics—and credulity—to characterize the image-enlarging feature of

  Dr. Wind’s survey as a “fatal” technical flaw. Dr. Wind’s report accurately states the following:

  “We gave respondents time to review the images and the option of enlarging the images.” Ex. A,

  Wind Rep. at 7. Although during his deposition Dr. Wind inaccurately described this feature as

  allowing a respondent to “zoom” in on narrow sections of the stimuli, see Ex. C, Wind Dep. Tr.

  213:24-214:3, Dr. Wind later confirmed that a more accurate description would be that “you’ve

  clicked on it and it’s an enlarged picture,” id. at 245:13-15.

         More fundamentally, CHG has not demonstrated any meaningful consequence of use of

  an “enlargement” feature as opposed to a “zoom” feature. To the contrary, while taking the

  survey during his deposition, Dr. Wind confirmed that the feature provided “an enlarged picture,

  and in this picture, you can see the name of the game and the numbers on the pay tables” and

  “that this is a bingo card.” Id. at 245:19-25.

         Instead, CHG points to questionable characterizations of the record.

         For example, CHG erroneously claims that Dr. Wind’s report “included an image of the

  house marks, purportedly as he claims they could be viewed using the ‘zoom feature.’” Dr.

  Wind makes no such claim, but instead states only that “[t]he close-up images below undermine

  any such claim [about prominence of house marks].” Ex. B, Wind Reply Rep. at 8-9.

         Similarly, although CHG emphasizes that “[t]his error did not go unnoticed by survey

  respondents” by pointing to seven verbatim responses that mention the ability to enlarge images,


                                                   20
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                 Page 25
                                              of 31



  CHG neglects to mention that the seven were among the original 446 respondents (in other

  words, 1.56% of respondents). See Ex. C, Wind. Dep. Tr. 135:2-10, 216:20-24. CHG also

  claims that Dr. Wind did not read the verbatim responses despite clear testimony to the contrary.

  Id. at 217:6-11 (“I went over all -- I went over all the verbatims.”); see id. at 218:17-22 (“All we

  know that it says or she says you could make the zoom even more refined or more zoomed in. It

  doesn’t say anything that they could not do it.”).

         Further, despite CHG’s suggestions to the contrary, it is ultimately unquestioned that the

  images in the survey do, in fact, contain the VGT and CHG house marks. 14 See Motion to

  Exclude Wind at 21 (conceding that “when enlarged, the Castle Hill and VGT games both

  appear in high resolution”); Ex. C, Wind Dep Tr. 220:13-16 (“I was able to read [the names of

  the games] easily when I -- when I completed the questionnaire on the screen.”). VGT can

  hardly be to blame for CHG’s decision to employ a small, discreetly placed house mark (which it

  chose to make the same size as VGT’s and place in the same location as VGT’s).

                 3.      Dr. Wind’s Survey Used Images of Comparable Quality.

         Nor is there anything to CHG’s complaint that Dr. Wind’s survey was biased because of

  differences in image quality among the stimuli—again, at most, an issue for cross-examination.

  As discussed above, Dr. Wind used the best images available to create a realistic array of games

  that could be encountered in a single casino. Ex. B, Wind Reply Rep. at 7. See, e.g., Active

  Sports Lifestyle USA LLC v. Old Navy, LLC, No. SACV 12-00572 JVS (Ex), 2013 WL

  11239385, at *15 (C.D. Cal. Nov. 21, 2013) (“poor image size or quality . . . is subject to cross-




  14
    House marks do not identify particular goods or services—rather, they identify the provider of
  a variety of goods or services, with such goods or services often themselves identified by a
  separate trademark or service mark. Here, the house marks are the VGT & Design and CHG &
  Design emblems that appear on all VGT and CHG EGMs.

                                                   21
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                 Page 26
                                              of 31



  examination”); Whirlpool Props., Inc. v. LG Elecs. U.S.A., Inc., No. 1:03 CV 414, 2006 WL

  62846, at *7 (W.D. Mich. Jan. 10, 2006) (“Plaintiff’s [photo-quality] criticisms go to the weight

  of the evidence, not its admissibility.”). Moreover, because CHG uses a small house mark, Dr.

  Wind had to ensure that the VGT and CHG EGMs were as high resolution as possible so that

  respondents could view those marks if they wanted to do so. Ex. B, Wind Reply Rep. at 7. It

  also bears emphasis that no respondent identified resolution as a reason for grouping EGMs

  together in the verbatim responses. Id.

         H.      Dr. Wind’s Convergent Validity Analysis is Proper and Helpful.

         CHG’s final argument—that the last section of Dr. Wind’s report amounts to a mere

  expert stamp of approval of facts and arguments—proceeds from an erroneous premise, namely,

  that the basis for Dr. Wind’s opinions “can flow only from the survey that he conducted.” See

  H.S. Field Servs., 2015 WL 11156965, at *3 (opinion reliable where expert “outlines in detail the

  pleadings, deposition transcripts and exhibits, documents, and conversations he considered in

  forming his opinions,” together with “his own experience”). This proposition is untrue for at

  least three reasons.

         First, and most fundamentally, an expert witness is not only allowed to consider other

  evidence in the record when developing an expert opinion, Fed. R. Evid. 703 (“An expert may

  base an opinion on facts or data in the case that the expert has been made aware of or personally

  observed.”), but, in fact, is expected to review and describe the full range of data necessary to

  provide “a complete statement of all opinions the witness will express and the basis and reasons

  for them [and] the facts or data considered by the witness in forming them,” Bales v. Green, No.

  16-CV-106-GKF-JFJ, 2018 WL 1633321, at *2 (N.D. Okla. Mar. 27, 2018). Indeed, an expert

  may provide an opinion based on facts and data so long as they are of a type on which experts in

  the field reasonably rely in forming opinions. See, e.g., Malinski v. BNSF Ry. Co., No. 15-CV-
                                                   22
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                   Page 27
                                              of 31



  502-JED-FHM, 2017 WL 1199750, at *3 (N.D. Okla. Mar. 31, 2017) (physician permitted to

  base opinion on direct patient examination as well as medical and accident records); Cohen v.

  Trump, No. 3:13-CV-2519-GPC-WVG, 2016 WL 4543481, at *9 (S.D. Cal. Aug. 29, 2016)

  (marketing professor permitted to analyze aims of apparent marketing strategies); Children’s

  Med. Ctr. of Dall. v. Columbia Hosp. at Med. City Dall. Subsidiary, L.P., No. 3-04-CV-2436-

  BD, 2006 WL 616000, at *5 (N.D. Tex. Mar. 10, 2006) (professor permitted to testify regarding

  weakness of mark based on third-party use). Both survey experts in this case agree that

                                                                . See Ex. C, Wind Dep. Tr. 264:7-13;

  Ex. D, Berger Dep. Tr. 134:4-8.

         Second, applying those general principles to this case, survey experts are not mere

  technicians who design and implement surveys in a vacuum; rather, they evaluate related data to

  place those surveys in context. As confirmed by Mr. Berger,

                                                                                             i.e., the

  survey. Ex. D, Berger Dep. Tr. 134:4-8. What Dr. Wind did in this case was produce primary

  data, his survey, then look to other evidence to see if it supports the survey results (which it did).

  See Ex. C, Wind Dep. Tr. 261:12-267:2. Indeed, as discussed above, Dr. Wind uses evidence

  from the record to project the survey results to other examples of CHG’s infringement;

  specifically, CHG’s design philosophy across its product line, including CHG’s desire to emulate

  VGT’s product line, allowed him to “feel confident, unless shown other evidence to the contrary,

  that the results can be projected to the rest of [product] line.” Id. at 193:3-11, 111:8-115:23.

         Third, and finally, in addition to his survey expertise, Dr. Wind applies his marketing

  expertise to the data to assess consumer behavior and reactions in the marketplace. As CHG’s

  expert Mr. Berger concedes, a professional marketing professor such as Dr. Wind



                                                    23
Case 4:17-cv-00454-GKF-JFJ   Document 209 Filed in USDC ND/OK on 11/16/18   Page 28
                                       of 31
Case 4:17-cv-00454-GKF-JFJ          Document 209 Filed in USDC ND/OK on 11/16/18                  Page 29
                                              of 31



  and commentators generally recognize that there is no one best way to study a phenomenon of

  interest. However it is clear that a convergent approach to evaluating scientific validity makes

  the best use of all available evidence bearing upon the fitness of a particular method for an

  intended use.”).

         Dr. Wind has done this type of analysis before, Ex. C, Wind Dep. Tr. 264:7-13, and CHG

  identifies no reason why it would be improper for him to do it again here.

  V.     CONCLUSION

         For the foregoing reasons, CHG’s motion to exclude Dr. Wind should be denied.



  November 16, 2018                             Respectfully submitted,

                                                /s/ Gary M. Rubman
                                                Graydon Dean Luthey, Jr., OBA No. 5568
                                                GABLE GOTWALS
                                                1100 ONEOK Plaza
                                                100 West Fifth Street
                                                Tulsa, OK 74103-4217
                                                Telephone: (918) 595-4821
                                                Facsimile: (918) 595-4990
                                                dluthey@gablelaw.com

                                                Gary M. Rubman
                                                Peter A. Swanson
                                                Michael S. Sawyer
                                                Rebecca B. Dalton
                                                COVINGTON & BURLING LLP
                                                One CityCenter
                                                850 Tenth Street, NW
                                                Washington, D.C. 20001-4956
                                                Telephone: (202) 662-6000
                                                Facsimile: (202) 778-5465
                                                grubman@cov.com
                                                pswanson@cov.com
                                                msawyer@cov.com
                                                rdalton@cov.com
                                                  (admitted pro hac vice)

                                                Neil K. Roman
                                                  25
Case 4:17-cv-00454-GKF-JFJ   Document 209 Filed in USDC ND/OK on 11/16/18       Page 30
                                       of 31



                                      COVINGTON & BURLING LLP
                                      The New York Times Building
                                      620 Eighth Avenue
                                      New York, NY 10018-1405
                                      Telephone: (212) 841-1221
                                      Facsimile: (212) 841-1010
                                      nroman@cov.com
                                        (admitted pro hac vice)

                                      Counsel for Video Gaming Technologies, Inc.




                                        26
Case 4:17-cv-00454-GKF-JFJ         Document 209 Filed in USDC ND/OK on 11/16/18               Page 31
                                             of 31



                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 16, 2018, I filed a redacted version of the foregoing

  Response to Defendants’ Motion to Exclude Plaintiff’s Expert Yoram Wind via ECF, which

  caused service to be effected on the following counsel for Defendants:

  Robert C. Gill
  Thomas S. Schaufelberger
  Matthew J. Antonelli
  SAUL EWING ARNSTEIN & LEHR, LLP
  1919 Pennsylvania Avenue, NW, Suite 550
  Washington, D.C. 20006
  (202) 295-6605
  (202) 295-6705 (facsimile)
  robert.gill@saul.com
  tschauf@saul.com
  matt.antonelli@saul.com

  Sherry H. Flax
  SAUL EWING ARNSTEIN & LEHR, LLP
  500 E. Pratt Street, Suite 900
  Baltimore, Maryland 21202
  (410) 332-8764
  (410) 332-8785 (facsimile)
  sherry.flax@saul.com

  James C. Hodges, OBA 4254
  JAMES C. HODGES, PC
  2622 East 21st Street, Suite 4
  Tulsa, OK 74114
  Telephone: (918) 779-7078
  JHodges@HodgesLC.Com

  Duane H. Zobrist
  Jonathan S. Jacobs
  ZOBRIST LAW GROUP PLLC
  1900 Arlington Blvd. Suite B
  Charlottesville, VA 22903
  Telephone: (434) 658-6400
  dzobrist@zoblaw.com
  jjacobs@zoblaw.com

  Attorneys for Defendants
                                                                             /s/ Gary M. Rubman



                                                 27
